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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION


    DERRICK TYRONE GRANTLEY,

                        Plaintiff,

    v.                                                     Case No. 3:16-cv-1147-32PDB

    BRIAN S. STARLING et al.,

                        Defendants.


                        ORDER OF DISMISSAL WITH PREJUDICE

          Pursuant to the parties’ Joint Stipulation of Voluntary Dismissal With

    Prejudice (Doc. 114), this case is DISMISSED with prejudice. The Clerk shall enter

    judgment dismissing this case with prejudice. The file shall remain closed.

          DONE AND ORDERED at Jacksonville, Florida, this 6th day of May, 2019.




                                                        TIMOTHY J. CORRIGAN
                                                        United States District Judge

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    c:
    Counsel of Record
